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                                                         Exhibit A to the Complaint
Location: Brooklyn, NY                                                                                  IP Address: 96.250.220.113
Total Works Infringed: 30                                                                               ISP: Verizon Fios
 Work      Hashes                                                                UTC             Site          Published     Registered   Registration
 1         Info Hash: 8031B4A7A5CFCECBC796D4772440BFC5016C11AA                          01-09-   Blacked       06-24-2018    07-26-2018   PA0002112154
           File Hash:                                                                     2023
           6BC6E1D6C35FB48E06C6A8D7BBF0DF2769A8B15B04C14B904550055F04219187           13:09:49
 2         Info Hash: 3350AD6ED2ECD3F20CA9BFAB853A3CED164589B0                          01-09-   Blacked       08-05-2018    09-01-2018   PA0002119682
           File Hash:                                                                     2023   Raw
           C37AF8553805F6A6564CD2DA3705A9DAFD128B2939D7AA101D686499D196A471           12:48:38
 3         Info Hash: 025477E817FDAD26E20E85603DCEC00D1BD5DA68                          01-09-   Blacked       09-02-2018    11-01-2018   PA0002143413
           File Hash:                                                                     2023
           211F5C323C06C8C41A64998676FDCC2C3172142328F132032DFA9CC295E47786           12:47:03
 4         Info Hash: 95C8B15EF533C5F1F122A9DF55C3915956A10ED7                          01-09-   Blacked       12-17-2022    01-10-2023   PA0002389619
           File Hash:                                                                     2023
           4CAEF4F10C5BF07082B3112EBF043FA44613098E2AAE0DA74FBCA5FA07B1DB70           12:36:50
 5         Info Hash: AEA2A54A10B734C86EA9A7997223B49989896BE2                          01-09-   Tushy         07-04-2021    07-08-2021   PA0002300663
           File Hash:                                                                     2023
           41041503E1C182A4AAAF199D41D54B74439B9907271000EF4C8CEF9F1DE3998C           04:21:33
 6         Info Hash: 8D32AB1CB96102625A0B936368E3CE0A33BC5495                          12-27-   Tushy         12-11-2022    01-10-2023   PA0002389623
           File Hash:                                                                     2022
           84F48A130E6807E9BCBDE8EE3DD7BDFF5E1F7FBDB80A5C72349B2C512B800A99           02:51:16
 7         Info Hash: DD6582F97DEDFA074D227FD4169F9ABFF71C9F9B                          11-21-   Blacked       11-12-2022    12-11-2022   PA0002384761
           File Hash:                                                                     2022
           3498792D84F9BC2B5CD08B4AEED92B6443D04C6BFA67050613EA9F2F11C2FE64           19:50:24
 8         Info Hash: 7DFD7054EC044D7382229CAC29482FF09B4A78B4                          11-11-   Blacked       10-31-2022    12-11-2022   PA0002384770
           File Hash:                                                                     2022   Raw
           BCDD15907FDBD565AE5238658FBD2C07E950E8AEA04D6FB530B337FD59252F27           14:04:37
 9         Info Hash: 07505D1BF57DF4D79F0E6D0C802F273714F82B69                          10-20-   Blacked       04-24-2021    04-27-2021   PA0002288981
           File Hash:                                                                     2022
           44F977A16AFCEE2BD4C403DBB7510F28AEE06CA03510AAF7793782EF9C9D86CA           15:34:11
 10        Info Hash: B3E42C84C48B8BEBEAC209531FF7F9AD54593F7F                          10-11-   Blacked       09-04-2021    09-21-2021   PA0002312679
           File Hash:                                                                     2022
           673065A1DFFD464A5047C0181D534DC453ECF0026CC047D8DF60DD5354DF7DED           11:52:09
 11        Info Hash: 04D1E15B09618A4312212EDD4AA7534ABB8DCF96                          10-11-   Tushy         09-26-2021    10-19-2021   PA0002317053
           File Hash:                                                                     2022
           C18729AA5F0F5446CCAD18A988F9F132B09792B82BA160F2600CCEC2F668B675           11:48:09
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 11317BD69D7E2FE51E3BDDC1C53B65643242CB9C                   10-11-   Blacked   09-28-2020   10-22-2020   PA0002261800
       File Hash:                                                              2022   Raw
       F63C87FC2DE9AF3AE5B0803EA75F2ECD3EE51ACC21B0A12F11F155DB8E891C77    11:41:32
13     Info Hash: 8C0450560F9B89D6FC85B8D65FC2A45F85BEB391                   10-11-   Tushy     08-16-2020   08-18-2020   PA0002253098
       File Hash:                                                              2022
       D51FF4DFDC04263DDA8DDDF1C9E02997D3C0193D83460492DD9D0589FEE5B727    11:41:24
14     Info Hash: 1018A676073B24EB9A7384E7BF56686079E27B27                   10-11-   Tushy     07-20-2018   09-05-2018   PA0002134598
       File Hash:                                                              2022
       14933E0910B60AF2E3929652EA75A2557D35397916823CC0D76B623CECFEAD2B    11:39:14
15     Info Hash: 98D9632CEE8326D9BA4EC22F783C5DB694A8DB20                   10-11-   Tushy     05-01-2022   05-20-2022   PA0002350375
       File Hash:                                                              2022
       D58D4A2E9DC7B4D3ABC9D54406493C8F733CDD2BDF1B4101189250EEE6D73CA3    11:35:21
16     Info Hash: 0E4CACEDCCDF0CEAF44A2BE0EC857587D35EA57A                   10-10-   Blacked   11-20-2021   12-09-2021   PA0002325817
       File Hash:                                                              2022
       CE825ED8394023946EA5073AD8CD9A7095F4B9B6F597C02D4CB498375948662B    12:55:58
17     Info Hash: 9CD7CFD962DE7804CF2507733B747EEB28B25D1E                   10-10-   Blacked   06-07-2021   06-15-2021   PA0002296926
       File Hash:                                                              2022   Raw
       CC3818D230E86A51A6697869E4F66F58703FCE9CA81ECB5782A8A652486993F1    12:17:57
18     Info Hash: 201FD038EE0F30ABE7B32816FC1B5CD2C4EEC201                   10-10-   Slayed    02-08-2022   03-04-2022   PA0002345794
       File Hash:                                                              2022
       E5298FB660C4D1BF823F11791D6160D06DBD46B4A63BC5FDE7AA6FC092B3EA2F    12:07:50
19     Info Hash: BFAE234339BBE35D844A4EE4133C90406DF7B3E8                   10-08-   Vixen     09-30-2022   10-31-2022   PA0002377819
       File Hash:                                                              2022
       F8D7494A0822F44A156C1B9FE51CF24B35ECC74999B8F94853470ADCE2ED2187    11:18:50
20     Info Hash: BE12BC47B9E8402E60F764439965F58677EA2C40                   10-07-   Blacked   08-27-2022   10-05-2022   PA0002373768
       File Hash:                                                              2022
       37B0125CE7B2426E3BFD90B5564EA53F57F42E24B8E3BEEF272DAADA834740EE    16:06:16
21     Info Hash: 17E24B14F0D7A82581C3E61531C8DA80F962E46E                   10-06-   Blacked   01-25-2021   02-09-2021   PA0002276145
       File Hash:                                                              2022   Raw
       D4C53B604B6D1528B5D4D64023456E5D9DC5328C5949DBB95677EC5D4D3D363D    12:05:41
22     Info Hash: C40F6A98512F84D9D0C838BF9FC66544941725B4                   10-04-   Tushy     03-13-2022   03-29-2022   PA0002342866
       File Hash:                                                              2022
       3B4832C1E78ED9ECAD5D29B7648F8A669A3A3C00284699836CE0E676552CD6EF    00:13:15
23     Info Hash: D50BF8212FE5D98D5F36C1B12E745F493E67C6DE                   10-02-   Blacked   04-02-2018   04-17-2018   PA0002116078
       File Hash:                                                              2022   Raw
       1EC6AF2A9B6F2C1940561B49D1B98E76A25192B5E03C0783E6E0C143961D87D7    18:54:27
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: F7584EAD8BB810CD75BB8B1AC568E48EE5CC21A0                   10-02-   Blacked   12-18-2018   02-02-2019   PA0002155391
       File Hash:                                                              2022   Raw
       B520ACEA749A3A476BF843A6477E83EEEF03C2FB032653664139EBF800AD87A1    17:53:28
25     Info Hash: F445823EE2BB5E4BF4886EB8490DF47ACC438C4E                   10-02-   Tushy     05-31-2018   07-14-2018   PA0002131771
       File Hash:                                                              2022
       22227D1C627D8CA3F7FA22811CBBBA6684771E7EC3663464BE82D1F688B65A95    12:55:37
26     Info Hash: CE2796273FE724E80FECD23B8481E389C96DECF2                   09-30-   Blacked   09-21-2022   10-05-2022   PA0002373950
       File Hash:                                                              2022   Raw
       5AD272BC850A4EA9844A326496216D457855A523E327FCE318848B38D9DDA755    11:31:37
27     Info Hash: 86C5F87BA9C2618D57F79C76608F5D883C5439CF                   09-26-   Blacked   12-19-2020   01-05-2021   PA0002269959
       File Hash:                                                              2022
       58FBE5F562F65118013731FFA138E1D677C1589287C02171C3829034C0E6DAED    17:08:59
28     Info Hash: 83E5CC90978D29577233ED709F7716D44CA1DC25                   09-26-   Blacked   04-10-2018   05-23-2018   PA0002101304
       File Hash:                                                              2022
       EEB6E66B6C3FFE1EE2426F50B0E190BA3ECEDAC333AA633C9797D352A0D0ADF7    17:00:32
29     Info Hash: 24550021ABCBE71DCF048521BFA63F64964F7CDB                   09-26-   Blacked   09-24-2022   10-05-2022   PA0002373769
       File Hash:                                                              2022
       0881083D537D67B17DE4B9412D7A30A1D9B4453D47ACD18EB069BA82D1992253    16:59:46
30     Info Hash: 73E574E4F56CCBD035DDBA1FCF86A994B22BDB6F                   09-26-   Tushy     03-17-2019   04-08-2019   PA0002164888
       File Hash:                                                              2022
       73D05FBDE255FC82E52AEAD342BFCEE21D15312C70D5BFAE282DE0E3B1309945    16:50:11
